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 1   DANIEL J. BRODERICK, #89424
     Federal Defender
 2   DOUGLAS J. BEEVERS, U.S.V.I. #766
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, California 95814
     Telephone: (916) 498-5700
 5
     Attorney for Defendant
 6   CHRISTOPHER JACKSON
 7
 8
                                  IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,                       )   NO. 2:11-cr-0054-GEB
                                                     )
12                         Plaintiff,                )
                                                     )   UNOPPOSED MOTION MODIFYING
13          v.                                       )   CONDITIONS OF RELEASE
                                                     )
14   CHRISTOPHER JACKSON,                            )   Date: NONE
                                                     )   Time: NONE
15                         Defendants.               )   Judge: Hon. Edmund F. Brennan
                                                     )
16   _______________________________                 )
17
            CHRISTOPHER JACKSON, by and through his attorney, DOUGLAS BEEVERS, Assistant Federal
18
     Defender; moves to modify the defendant's conditions of release BY STRIKING the following:
19
            8.     You shall submit to drug or alcohol testing as approved by the pretrial services officer;
20
            10.    You shall participate in a program of medical or psychiatric treatment, including treatment
21
                   for drug or alcohol dependency, as approved by the pretrial services officer;
22
            As grounds for this request the parties report that Defendant has been in compliance with the pretrial
23
     conditions during the pendency of the case, and the U.S. Pretrial Services Office and the U.S. Attorney’s
24
     Office have no objection to the proposed modification.
25
     ///
26
27
28
           Case 2:11-cr-00054-TLN-CKD Document 38 Filed 08/29/11 Page 2 of 2


 1   Dated: August 26, 2011                          Respectfully submitted,
 2                                                   DANIEL J. BRODERICK
                                                     Federal Defender
 3
                                                     /s/ Douglas Beevers
 4
                                                     DOUGLAS BEEVERS
 5                                                   Assistant Federal Defender
                                                     Attorney for Defendant
 6                                                   CHRISTOPHER JACKSON
 7
     United States of America, by and through its counsel, MATTHEW SEGAL has no objection to this
 8   motion.
 9   Dated: August 26, 2011                          BENJAMIN B. WAGNER
                                                     United States Attorney
10
11                                                   /s/ Matthew Segal
                                                     __________________________
12                                                   MATTHEW SEGAL
                                                     Assistant United States Attorney
13
14
15                                               ORDER
16
           UPON GOOD CAUSE SHOWN and that there is no objection, it is ordered that as to defendant
17
     CHRISTOPHER JACKSON’s Special Conditions of Release, Special Conditions 8 and 10 are stricken.
18
19
     IT IS SO ORDERED.
20
     Dated: August 26, 2011
21
22
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24
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26
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28
